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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

       Plaintiff,

vs.                                                          Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

       Defendants.

                               ORDER GRANTING
                       JOINT MOTION TO EXTEND DEADLINES

       THIS MATTER having come before the Court on the Joint Motion to Extend Deadlines

(“Motion”). Doc. 156. This Court having considered the Motion and being otherwise fully advised

in the premises and for good cause shown, FINDS that it is well taken.

       IT IS HEREBY ORDERED that the parties shall have until June 18, 2021 to file any

motions to compel regarding (1) Plaintiff’s April 22, 2021 responses to Meow Wolf, Inc.’s

discovery requests, and (2) Defendants Meow Wolf, Inc. and Vince Kadlubek’s May 6, 2021

Responses to Plaintiff Lauren Oliver’s discovery requests.



Dated: June 9, 2021




                                                    Honorable Steven C. Yarbrough
                                                    United States Magistrate Judge
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                                               Respectfully submitted,

                                               ERICKSEN ARBUTHNOT

                                                /s/ Jesse A. Boyd
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Attorneys for Defendants Meow Wolf, Inc.
and Vince Kadlubeck




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